
MURDOCK, Justice
(concurring specially).
I was shocked and saddened by the apparently callous and cruel manner (whether or not done on advice of counsel) in which the 18-year-old mentally retarded child in this case was so suddenly taken from the only parents he had ever known, parents who had raised him for almost his entire life. I therefore voted to grant certiorari review in this case. In them brief to this Court, however, the petitioners failed to address legal authority relevant to the issues whether this Court should apply the tort of outrage to conduct of this nature and whether this conduct fell within the protection afforded by the doctrine of state-agent immunity. Accordingly, I concur in the action of the Court today in quashing the writ.
WISE, J., concurs.
